1    Kyle A. Kinney, Esq. (Bar No. 027189)
     LAW OFFICES OF KYLE A.KINNEY, PLLC
2    1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
3    Phone: (480) 269-7077
     Fax: (480) 614-9414
4    Email: kyle@kinneylaw.net
5
     Attorney forDebtor
6    Mark Swartz
7
8                      IN THE UNITED STATES BANKRUPTCY COURT

9                               FOR THE DISTRICT OF ARIZONA
10
11   In Re                                                  Case No. 2:18−bk−07157−DPC

12   Mark Swartz,                                         DEBTOR’S OPPOSITION TO
                                                          TRUSTEE’S OBJECTION TO
13                                                             EXEMPTION
                     Debtor,
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15
16           Debtor, Mark Swartz (“Swartz” or “Debtor”), by and through counsel undersigned,

17   hereby submits his Response to the Trustee’s Objection to Exemption (Docket Entry No. 35)

18   requesting that a lien on Debtor’s 2007 Chrysler Pacifica, with over 133,000 miles and a

19   scheduled value of $2,771, in favor of Debtor’s father, be declared void and avoided. The

20   trustee improperly relies upon the case of In re Glass, 60 F.3d 565 (9th Cir. 1995) to support

21   his position.

22           In In re Glass, 37 days prior to filing bankruptcy, the Debtor transferred his interest

23   in his home to his son for no consideration and did not schedule the home or the transfer. A

24   creditor discovered the transfer and the Debtor was required to schedule the asset, which he

25   claimed was subject to a homestead exemption. The Court found that the transfer was a

26   fraudulent transfer and the transfer itself voided the Debtor’s homestead exemption. This



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1    makes sense, because the debtor no longer had a home to be exempt because of the transfer
2    on the petition date.
3           In re Glass does not apply to these facts. Debtor scheduled the 2007 Chrysler and the
4    asset was not transferred prior to filing his petition. The title was jointly in Debtor’s name
5    and his father’s name and the lien was in favor of the father. There was no “perfected” lien
6    because it was not necessary. Debtor’s father was on the actual title so he did not require a
7    lien to protect his interest. Even if there was not a lien, the asset itself is not more than the
8    $6,000.00 exemption which the Debtor is entitled to.
9           Debtor respectfully requests that the Trustee’s Objection be denied. Debtor further
10   requests that the trustee and/or his counsel be ordered to pay Debtor’s costs and fees incurred
11   in responding to the frivolous Objection.
12          RESPECTFULLY SUBMITTED this 19TH day of October 2018
13
                                                 LAW OFFICES OF KYLE A. KINNEY, PLLC
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15                                               By: /s/Kyle A. Kinney
16                                                      Kyle A. Kinney, Esq. (027189)
                                                        1717 N. 77th Street, Suite 6
17                                                      Scottsdale, Arizona 85257
                                                        Attorney for Debtor
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     I certify that the foregoing was
1
     submitted on October 19, 2018 in the
2    United States Bankruptcy
     Court for filing and transmittal of notice
3    of electronic filing to the ECF
4    registrants appearing in this case, and by
     email to:
5
     Robert A. Mackenzie
6
     2001 E. Campbell Ave., Suite 200
7    Phoenix, AZ 85016
8
     Terry A. Dake
9    20 E. Thomas Rd.
     Suite 2200
10   Phoenix, Arizona 85012-3133
11    Attorney for Trustee

12   By:    Paula D. Hillock
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